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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7

                                   8     ROBERT ROSS,                                      Case No. 19-cv-06669-JST (VKD)
                                                        Plaintiff,
                                   9
                                                                                           ORDER VACATING SETTLEMENT
                                                 v.                                        CONFERENCE DATES
                                  10

                                  11     AT&T MOBILITY, LLC, et al.,
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14          This matter is set for a settlement conference on September 30, 2021, and for a pre-

                                  15   settlement telephone conference call on September 27, 2021. The parties have advised that they

                                  16   wish to postpone the settlement conference until November 2021. Accordingly, the Court vacates

                                  17   the dates for both the settlement conference and the telephone conference call.

                                  18          The parties shall confer and advise Judge DeMarchi’s courtroom deputy by October 8,

                                  19   2021 of the dates in November 2021 on which they propose to participate in a settlement

                                  20   conference and a pre-settlement telephone conference call.

                                  21          IT IS SO ORDERED.

                                  22   Dated: September 24, 2021

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                                                                                                    VIRGINIA K. DEMARCHI
                                  25                                                                United States Magistrate Judge
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